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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

KELLEN POWELL, et al.                          )        Cause No. 4:15-CV-00840
                                               )
              Plaintiff,                       )
                                               )
       vs.                                     )
                                               )
THE CITY OF ST. ANN,                           )
                                               )
              Defendant.                       )

 MOTION TO WITHDRAW PLAINTIFFS’ MOTION FOR TEMPORARY
                 RESTRAINING ORDER

       Plaintiffs, by and through counsels, request this Court to allow Plaintiffs to

withdraw their Motion for Temporary Restraining Order. In support thereof,

Plaintiffs state:

       1. Plaintiff Kellen Powell is no longer in the custody of the City of St. Ann.

He was recently released from custody and given a court date to appear in the City

of St. Ann Municipal Court.

       2. Plaintiffs’ counsels have contacted opposing counsel, and they are

currently in the process of settlement discussion.

       3. At this time, Plaintiffs’ counsels are no longer seeking an emergency

hearing for their Motion for Temporary Restraining Order.

       4. As a result, Plaintiffs’ counsels request this Court to allow Plaintiffs to

withdraw their Motion for Temporary Restraining Order.
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                                  Respectfully submitted,

                                 /s/ Thomas B. Harvey________________
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                                 /s/ Alec Karakatsanis_________________
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                         CERTIFICATE OF SERVICE

I certify that the above document is a true and correct copy that was sent to the

opposing counsel by U.S. Mail on this date, 26th May, 2015.

                                 /s/ Thomas B. Harvey_______________




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